     Case 1:07-cr-00011-MP-GRJ            Document 115        Filed 08/03/07       Page 1 of 1


                                                                                            Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:07-cr-00011-MP-AK

CHRISTINA RENTERIA,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 113, Request to Allow Substitute Counsel to

Attend Telephone Conference, filed by Defendant Christina Renteria. In the motion, Defendant

states that her attorney has a scheduling conflict, and requests leave for substitute counsel to

attend the telephone conference set for August 8, 2007. After considering the matter, the Court

grants Defendant’s request, and Ms. Kirstin J. Stinson shall represent Defendant Renteria at the

telephone conference in the stead of Mr. Stan Cushman.


       DONE AND ORDERED this              3rd day of August, 2007


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
